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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE
3558 7th Street NW
Rochester, Minnesota 55901

                                 Plaintiff,

             v.
                                                      C.A. No. 22-cv-00027 (TCN)
ROBERT J. CONTEE III
Chief of the Metropolitan Police Department
441 4th Street, NW, 7th Floor
Washington, DC 20001

             and

OFFICER JOHN DOE 1 (a/k/a “Officer Whiteshirt”)
Metropolitan Police Department
441 4th Street, NW, 7th Floor
Washington, DC 20001

             and

OFFICERS JOHN DOES 2-7
Metropolitan Police Department
441 4th Street, NW, 7th Floor
Washington, DC 20001

             and

DISTRICT OF COLUMBIA
A Municipal Corporation
441 Fourth Street, N.W.
Washington, D.C. 20001

       Serve for all Defendants:
       Karl A. Racine, Esq.
       Attorney General of the District of Columbia
       400 6th Street, NW, Washington, DC 20001
       Phone: (202) 727-3400

                             Defendants.



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   PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE WHY DEFENDANTS’
                  SUMMONSES HAVE NOT BEEN ISSUED


       Plaintiff, through her undersigned counsel, hereby responds to the Court’s Minute Order

dated April 29, 2022, to Show Cause by May 6, 2022 “why this action should not be dismissed for

failure to prosecute” for failure to effectuate service on the defendants.

   1. Plaintiff filed her action on January 5, 2022, against Defendants Robert J. Contee III, seven

       John Doe D.C. Police Officers, and the District of Columbia for injuries she sustained by

       being brutally and continuously beaten over the head by a metal police baton and punched

       in the face by Officer John Doe 1 and others on January 6, 2021, after she was involuntarily

       pushed into the West Tunnel entrance of the Capitol Building surrounded by some 30-40

       officers packed in the tunnel and not allowed to exit. (See ECF No. 1, pp.6-9)

   2. The principal tortfeasor was Office John Doe 1, whose identity Plaintiff’s attorney Joseph

       McBride has been attempting to determine, in order to add him as a named Defendant, and

       then serve the Summons and Complaint in this action. After reviewing the video of the

       beating and further investigation, on information and belief, that Officer is either Officer

       Jason Bagshaw or Commander Ramey Kyle.

   3. On May 2, 2022, Mr. McBride entered his appearance in this case after the lead attorney

       Jonathan Moseley was compelled to withdraw his appearance. (See ECF No. 4)

   4. On May 5, 2022, Mr. McBride requested the Clerk to issue Summons to two of the

       identified Defendants, Chief of Police Robert J. Contee, III, and the District of Columbia.

       (See ECF No. 5)

   5. The clerk signed those summonses on May 5, 2022. (See ECF No. 6) The service of said

       summonses will be attempted on Monday, May 9, 2022.



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6. The DC Metropolitan Police Department has never responded to previous requests made

   by Plaintiff’s Counsel to voluntarily identify Defendant John Doe 1, who was wearing a

   white shirt usually worn by a Lieutenant of another Officer in Charge, as well as John Does

   2-7 who also assaulted Plaintiff.

7. On May 5, 2022, Plaintiff’s Counsel sent an email requesting that Washington DC Attorney

   General Racine provide information regarding the identities of the tortfeasors in this case.

8. If the information we seek is not turned over voluntarily, Plaintiff will file a discovery

   request compelling the identity of those officers.

9. Plaintiff’s Counsel also filed a Related Case Form (See ECF No. 7) on May 6, 2021,

   marking this case related to criminal case number 1:21-cr-00563-JDB-1, where she is a

   criminal defendant in front of the Honorable John D. Bates.

10. Fed. R. Civ Proc. 4(m) provides in pertinent part that “[i]f a defendant is not served within

   90 days after the complaint is filed, the court—on motion or on its own after notice to the

   plaintiff—must dismiss the action without prejudice against that defendant or order that

   service is made within a specified time. But if the plaintiff shows good cause for the failure,

   the court must extend the time for service for an appropriate period.”

11. Plaintiff’s counsel regrets that service has not yet been effectuated and respectfully submits

   that Mr. Moseley’s withdrawal and corresponding delays were unforeseeable

   circumstances that have since been cured.

12. Plaintiff’s counsel respectfully points to the fact that several steps have been taken to

   advance Plaintiff’s case in the few days since attorneys Joseph D. McBride and Paul D.

   Kamenar filed their notices of appearance.




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   13. For instance, while obtaining the identity of the main tortfeasor has proven itself difficult,

       there is now a plan in place to file discovery demands if his identity is not soon turned over.

       Summonses have been requested and signed by the clerk; as such, defendants will be served

       at the soonest possible time. And as mentioned above, Plaintiff’s counsel also filed a

       related case notice on May 6, 2021 (See ECF No. 7).

   14. In this case, plaintiff’s counsel apologizes for the delays and submits that the

       abovementioned causes for delays, coupled with the remedial measures that have been

       taken to cure said delays are sufficient grounds for showing good cause.



       WHEREFORE, Plaintiff requests that for good cause shown, this Court extend the time for

service for 30 additional days until June 5, 2022, to determine the identity of and serve Officer

John Doe #1 and other Officers John Does 2-7.



Dated: New York, NY                                   Respectfully submitted,
May 6, 2022
                                                      /s/ Joseph D. McBride, Esq.
                                                      Bar ID: NY0403
                                                      THE MCBRIDE LAW FIRM, PLLC
                                                      99 Park Avenue, 6th Floor
                                                      New York, NY 10016
                                                      p: (917) 757-9537
                                                      e: jmcbride@mcbridelawnyc.com
                                                      Counsel for Petitioner

                                                      Paul D. Kamenar, Esq.
                                                      DC Bar 914200
                                                      1629 K Street, N.W., Suite 300
                                                      Washington, D.C. 20006




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                                 CERTIFICATE OF SERVICE



I hereby certify that I served the known parties the foregoing Response by ECF and first-class

mail on this day, May 6, 2022.




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